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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION


 JEREMY GREY, an individual,                   )
                                               )
        Plaintiff,                             )
                                               )        No. 2:22-cv-02522-TLP-atc
 v.                                            )
                                               )
 OKRA, LLC, a limited liability company,       )
                                               )
        Defendant.                             )


                                       JUDGMENT


JUDGMENT BY THE COURT. This action came before the Court on Plaintiff’s Complaint

filed on August 11, 2022. (ECF No. 1.) In accordance with Plaintiff’s Notice of Voluntary

Dismissal (ECF No. 18), and under Federal Rules of Civil Procedure 41(a)(1)(A)(ii),

IT IS ORDERED, ADJUDGED, AND DECREED that this action is DISMISSED

WITHOUT PREJUDICE. The parties shall bear their own costs.

APPROVED:

s/Thomas L. Parker
THOMAS L. PARKER
UNITED STATES DISTRICT JUDGE

November 1, 2022
Date
